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                                                               SUPERIOR COURT CLERK
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                                                            CASE NUMBER: 17-2-28181-6 SEA




Case 18-01048-CMA   Doc 5-2   Filed 05/17/18   Ent. 05/17/18 10:48:15    Pg. 1 of 34
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Case 18-01048-CMA   Doc 5-2   Filed 05/17/18   Ent. 05/17/18 10:48:15   Pg. 3 of 34
                                                                EXHIBIT A

Case
Case17-12457-TWD
     18-01048-CMA Doc
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          FoÍn 21                                                                                                                                                          @Copyright æ17
          ReÊ¡clentíãl Purchase & Sa¡e Agreement                                                                                                               l.lórthwest Mult¡ple L¡sting Service
          Rev.217                                                                                                                                                   ALL RIGHTS RESERVED
          Page       I d5
                                                RESIDENT1AL REAL ESTATE PURCHASE AND SALE AGREEilENT
                                                                      SPECIFIC TERMS
          l. Dete:                  ùtay 03,2017          MLS ilo.:1172852           Oftêr Exp¡r¡tion Datê:                                                         sßnïn
          2.        Buyer: JE Realty, Inc and/orAssfin
                                    Buyer                                                      Buyêr                                                       S{atJs

          3.        g6¡¡s¡1 Antonio Cruz-Aþar¿do                                               Erncstina Cruz
                                    Sall¿r                                                     SeI€r

          1.        Property: Legal Description attached as ExhibitA. Tax Parcel No(s).: 362fi39t56
                    9435               25thAvenuc S\il                                  Se¡ttlc                                                   King              wA        98106
                    AddN                                                                       crv                                   County                         Sâlê        4
          5.        lncluded ltems: lstove/ran gei Ú refrigerator; dwasher;                                     d   ¿ryer: ddishwasher; d ¡ot tub; El f¡replace insert;
                    0     wood stove;         0   satellite dish;        E security systemt fl              attached television(s); E attached speaker(s); tmicrowave;
                    E generator; E            other
          6.        purchEse price:           g 37495O.OO                            Threc Eundrcd Scvcntydour Thousåûd Ninc Hundred                                Fifty                  Dollars

          7-        Eamest Money: $ 5,000-00 d Ch""r;                                 D   Note; El      Other                                 (held by O Selling F¡rm; d ctos¡ng          Agent)
          L tÞf¡ult: (ctreck                 only one¡   d   forfeiture of Eamest Money; E Selle/s Election of Remedies
          9.        lit¡é        lnsurâ nce Conpsny: ChÍcago Títlc
          10. Closing Agent: Best Escro% LLC
                                              Cmp6y                                                                         lDd¡Yldud   (oFbDr0

          l'1. Closing              Dare:      61612t77      0r sooner                 Possess¡on Dstc: E on Closing; dOtn"t                         fllot?nfl or sooner
          12. Services of Closing Agent for Peyment of lltilities:                               d     Requestea (attach NWMLS Fonn 22K);                 tr   Waived
          t3.       Charges/Assê!¡¡¡msttB Levbcl Bêlorë but Dr.e Aftar Closing: O assumed by Buyer; ú pn4ø ¡n frill by Sefler at Closing
          {4.       Sêllêr Citizenship (FIRPTA): Seller 0 e; d ¡s not a breign person tur purposes of U.S. incorne taxation
          t5. Agency Disclosure: Selling Broker represents: d                                  Buyer; E Sellen O both parües; E¡ ne¡ther party
                                                      List¡ng Broker represents:          !!   Selten El both parties
          t6.       AddendE:           2TtpeaùDisclosure) 22K(Utilitics)                                             34(Addendum)                           !5(lC!pq{S4L_
                                    22EF



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           Buye/s Signaure                                                                           Dâte                                                                                    Date
           737                    Olive Way #3$3
           Buye/s Address                                                                                        Selþis Address
           SeattlG                                                         wÁ                   98r01
           Cily, State, Zip                                                                                      c¡ty, stâte,   zP
                                                                                                                (206)898-Mt7
           t-'hone        l\þ.                                                                 Fax No-           Phone No.                                                                Fe)( No-


           Buye/s E-mail Ad<lress
           Homes & Equity Reol Estatc Grp                                                        SO4g           KcllcrWilliams Sc¡tüc Metro                    W                           l{ro
           Sellhg F¡rm                                                               MLS Ofüce l,lo.
           Jared llollsnd                                                                      r060M             Il¡nnaì Ncrbovig                                                         83547
           S€lllng Brokêt (Print)                                                    MLS LAG No.                 L¡sting Broter   (ûínt)                                         MLS LqG No-
          (42Ð 40r-0606                               206ót96866                   (42Ð449490e                          935-34/,2                        c50-s909                     935-623f
           Firm PhonÉ             No.                Brqler Phone       l,lo.          Fim Fax Nû.                    Phone No.                                                     Fim   Fax No.

           rdmÍn@nwhomecquity.com                                                                                brokcr@sc¿ttlckelþltitri¡ts.com                                                _
           SellirB        Fim Dod.¡ment E-mail AddrËss                                                                 m Doa¡menl E-mail Address
                                                                                                                 Usting F

           iared@frcshlgohc'com                                                                                  henn¡hfÐüvi nqiu sc¡ttle.com
           Sell¡ng Broké/s E-mail Addrcss                                                                        Lhling Brofte/s E-meil Ad&e€e
           t2t966                                                                                 9327           11076                                                                      7809
           Sêlllng Erolêr DoL L¡cênse t¡o.                              sell¡ng Firm DOL L¡cense No.             Li!firE Bro*er DOL L¡cense No-                     L¡st¡ng F¡rm DoL License No.




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         Förm21                                                                                                           Ocopyrign 2017
         Reê¡clentid Purchæe & Sale       Agre€ment                                                              Norttilr,d Multiple Usting Servica
         ReV.Z17                                                                                                    AIL RIGIITS RESERVED
         Pase2ot      s                     RESIDENTAL REAL ESTATE PURCHASE AND SALE AGREEHENT
                                                                            cENE#,fhÆRrs
        e.    Purchase Príce. Buyer shall pay to Seller the Purchase Pri{æ, ¡ncJuding the Eam6t Money, in cash at Closíng, unÞss                  1
              otherwise specified in this Agreement- Buyer fepresents that Buyer has suffcíent funds to close this saþ in accordance              2
              with this Agreerlent and '1s not rely¡ng on any contingent source of tunds, including funds from loans, the sale of other           3
              property, giñs, retirement, or future earn¡ngs, except to the extent othenrise specified ín this Agreement.                         4
        b.    Earnest Money. Buyer shall del¡ver the Earnest Money withín 2 days afier mutual accðptance to Selling Broker or to 5
              Closing Agent, lf Buyer delivee the Eamest Money to Selling Broker, Selling Broker will deposit any dreck to be heË by 6
              Selling Firm, or delíver eny Earnest Money to be held by Closing Agent, within 3 days of receipt or mutual acceptance,    7
              whícfìever occurs later. lf the Eamest Money is held by Sell¡ng Firm and is over $10,000.00 it shall be deposited ínto an           I
              interest bearing trust account in Sellíng Firm's name provirled that Buyer compÞtes an tRS Form W-9. lnterest, if any, ô
              after deduciircn of bank charges and fees, will be paid to Buyer. Buyer shall reímburse Selling Firm for bank cha¡ges 10
              and fees in excess of the interest eamed, rt any. lf lhe Earnest Money hefd by Sell¡ng Firm is over $10,000.d) Buyer 11
              has the option to require Selling Firm to deposit the Earnest Money into the Housing Trust Fund Accounl, with the                  12
              interest paid to the State Treasurer, if both Seller and Buyer so agree in wriling. lf the Buyer does not compþte an IRS           13
              Form W-9 before Sellirg Firm must deposit the Earnest Money or the Earnest Money is $1 0,000-00 or less, the Earnest               14
              Money shall be deposited ínto the Housing Trr¡st Fund Account. SellÍng Firm mq/ transfer the Earnast Money to Closing              15
              Agent at Closing. ff all or part of the Earnest Money is to be refunded to Buyer and any such costs remain unpakl, the             16
              Selling Firm or ClosÍng Agent may deduct and pay thern therefrom. The parties instrucf Closing Agent to prov'rJe writlen           17
              verification of rece¡pt of the Earnest Money and notice of dishonor of any ched< to the partíes and Brokers at the                 18
              addresses and/or fax numbers provided herein.                                                                                      19

              Upon termination of this Agreement, a party or the Closing Agent may deliver a form authorizíng the reþase of Earnest              20
              Money to the other party or the part¡es. The party(s) shall execute such form and cleliver the same to the Closing Agent.          21
              lf either party fails to execute the release form, a party may make a written dernand to the Closing Agent for the Eamest          22
              Money. Pursuant to RCW 64-04, Closíng Agent shall deliver notice of the demand lo the other party within 15 days. lf               z,)
              the other party does not oÞjed to the demand wÍthin 20 days of Clos¡ng Agenfs notice, Closing Agent shall disbuse the              24
              Earnest Money to the party making the demand within '1 0 days of the expiration of the 20 day period. lf Closing Agent             25
              timeþ receives an objection or an inconsistent demand frorn the other party, Closing Agent shall comrnence an                      26
              interpÞader aciion within 60 days of such objection or inconsistent demand, unless the parties provide subsequent                  27
              consisterìt instruclions to Closing Agent to disburse the earnest money or refcain from commenc¡ng an inlerpleader                 28
              adion for a specifÞd period of time. Pursuant to RCW 4.28.080, the parties consent lo service of the summons and                   29
              @npleint for an interpleader action by f¡rst class mail, postage prqaid at the party's usual maíling address or the                30
              address identified ín thÍs Agreement. lf the Glosing Agent complíes with the preceding process, each party shall be 3l
              deemed to have released Closirq Agent from any and all claims or liability related to the disbursal of the Earnest 32
              Money- lf either party faits to authorize the release of the Eamest Money to the other party when required to do so 33
              under this Agreement, that perty shafl be in breach of this Agreement. For the purpo€es of this sedion, the term Closing 34
              Agent includes a Selling Firm holding the Earnest Money. The part¡es author¡ze the party commencing an interpleader 35
              act'ton to deducf up to $500.00 for the costs lhereof.                                                                   3ô
        c.    Inclucled ftems. Any of the following items, including Ìtems identified in Spec¡fic Term No. 5 if the corresponding box       is   37
              che*ed, located in or on the Property are included in the sale: built-in appliances; u¡aÍþtcwall carpeting; cr¡rtains,             38
              drapes and all other window treatments; wíndow and door sc¡eens; awnings; storm doors and windovræ; ínstalled                      39
              telev¡sion anlennas; vent¡lating, air conditioning and heating fxtures; trash compaclor; fireplace doors, gas logs and gas         40
              log lþhters; ìnigetion fixtures; electric garage door openers; water heaters; installed eþclrical fixtures; light¡ng frxlures;     41
              shrut¡s, plants and trees planted in the ground; and other.fixturcs; and all associated 4erating remote controls. Unless           ¿2
              otherwise agreed, if any of the above items are leased or encumbered, Selbr shall acquire clear title before       Closing.        43
        d.    Gondition of Title. Unless otherwlse specified in this Agreement, tÍtþ to the Property shall be marketable at Closing. 44
              The following shall not cause the title to be unmerketable: rights, reservat¡ons. covenants, condÍtions and restricl¡ons, 45
              presently of record and general to the aree; easements and encroachrnents, not materially afied¡ng the value of .or 4tÌ
              unduly interfering with Buyer's reasonable use of the Property; and reserved oil and/or mining rights. Monetary 47
              encumbrences or liens not assumed by Buyer, shall be paid or discharged by Seller on or before Closing- Title shall be 48
              conveyed by e Stetutory Wananty Deed. lf this Agreement ís for conveyance of a buyeis interest in a Real Estate 49
              Contract, the Statutory Warranty Deed shall include a buyer's as.sþnment of the contract sufFcient lo convey añer 50
              acquired title.                                                                                                           5t
        ê.                                                                                                                                       52
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              Buyer's lnitids              Date           Buyers lniti€¡s    Dâte                     Date    Setlelg lnitials           Dete




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          Residential Purchase & Sale         Agreement                                                                 Northwe,sÉ Multiple L¡stlng Service
          Rev.2J17                              ÉËêrñzrr?.¡. ñÉ¡r Fê?r_         ÁF ¡rrÃ Á,. F.^ñ,-.,__._ALLRIGHTSRESERVED
          Pase 3 of       s                     RESIDENTIAL  REAL ESTATE PURCHASE AND SALE AGREEHENì
                                                                     GENERAL TER¡IS
                                                                                     Continued
                    shall send a cÐpy of the prel¡minary commitment to Seller, Listing Broker, Buyer and Sefling Broker. The preliminary                60
                    commÍtment, and the titfe policy to be issued, shall contain no except¡ons other than the General Exclusions and                    6l
                    Exceptions in the Policy and Special Exceptions consistent with the Condition of Title herein prov'rded. lf titþ cannot be          62
                    made so insurabþ prior to the Closing Date, then as Buye/s sole and exclusive remedy, the Eamest Money shall,                       63
                    unless Buyer elec{s to waive such defects or encumbrances, be refunded to the Buyer, less any unpaid cols described                 64
                    in this Agreement, and th¡s Agreement shall thereupon be terminated. Buyer shall har,re no rþht to specific performance             6s
                    or damages €¡s a consequence of Selle/s inability to provide insurable title.                                                       66
         f.        Glosing and Poesess¡on. This sale shall be closed by the Closing Agent on the Clos¡ng Date. lf the Closíng Date falls                67
                   on a Salurday, Sunday, legal holiday as defined in RCW'1.16.050, or day when the county recording offiæ is closed,                   68
                   the Closing Agent shall close the transact¡on on the next day that is not a Saturday, Sunday, legal holirlay, or day when            69
                   the county record¡ng oñ¡ce is cl¡rsed. "Closing' means lhe date on which all docunrents are recorded and the sale                    70
                   proceeds are available to Selþr. Seller shall deliver keys and garage door remoteE to Buyer on the Closing Date or on                71
                   the Possession Date, whichever occurs firs1. Buyer shall be entitled to possess¡on at 9;00 p.m. on the Possess¡on Date.              72
               '   Seller shalf maintain the Property in its present conditþn, normal weer and tear excepted, until the Buyer is entÍtled to            73
                   possession. Seller shall eÍther repair or replace any system or appliance (íncluding, but not lirnited to plumbing,,heat,            74
                   electrical, and all lncluded ltems) that becomes inoperat¡v€ or malfunc{ions prior to Closing with a system or appliance             75
                   of at least equal quality. Buyer reserves the rþht to walk through the Property within 5 days of Cfosing to veriry that              76
                   Seller has maintained the Prçerty and systems/appliances as required by this paragraph. Seller shall not enter into or               n
                   modiff existing feases or rental agreements, service contrads, or other agreementrs affecting the Property which have                78
                   terms extending beyond Closing without first obtaining Buye/s consent, which shall not be unreasonably withheld. lf                  79
                   possession transfers           at a time other than          Closing, the parties shall execute NVVIVILS Form 654 (Rental            80
                   AgreemenUOccupency Prior to Closing) or NWMLS Form 658 (Rental AgreemenUSelter Occupancy Afler Closing) (or 81
                   altemative rental agreements) and are advised of the need to contact theír respectÍve insurance comPan¡es to assure 82
                   appropriate hazard and liabilþ insurance policies are in place, as applicable.                                      83

                   RCW 19.27.530 requires the selþr of any orvner-occupied singþ-family residence to equip the residence w¡th a carbon                  84
                   monox¡de alarm(s) in accordance with the state building code before a buyer or any other person may Þgally occupy                    85
                   the residenæ following the sab The palies acknoïvl€dge that the Brokers are not responsible for ensuring that Seller                 86
                   complÞs with RCW 19-27.530. Buyer and Sefler shall hold the Brokers and lhe¡r Firms hannless from any cla¡m                          87
                   resulting from Sellels failure to install a carþon monox¡de alarm(s) in the Property.                                                88

         S.        Section   l03l Like-Kind Exchange. lf either Buyer or Sell
                   like-kind exchange, then the other party shall cooperate i
                   cooperat¡ng parly incurs no additional liability in doing so,
                   costs) incufied by the cooperating party that are related onf
                   party at or prior to Closing. ltlotn¿ithstanding the Assign
                   Sec{ion 1031 like'kird exchange may assþn thís Agreem
                   purposes of compÞting a reìrerse exchange.
         h,        Closing Cqsts and Prorations and Gharges and Assessnents. Seller and Buyer shall each pay one-half of the                            96
                   escro¡v-fee unþss otheruise required by applicabÞ FHA or VA regulations. Taxes for the curent year, rent, interest,
                                                         -duê                                                                                           97
                   and l-renable homeorvnels association       shall be prorated es of Closing. Buyer shall pay Buye/s loan costs,                      98
                   including credit report, appraisal charge and fendefs title insurance, unþss provided otherwíse in this Agreement. lf any 99
                   payments are deiinquent'on encumblances whích will remain afier Closing, Closing Agent is instructed to pay such 100
                   beiinquencìes at Cb!íng from money due, or to be paid by, Seller. Buyer shall pay for rema¡ning tuel in the luel tank ¡f, 101
                   prior io Closing, Seller obtains a written statement fiom the supplier as to the quantþ and cunent price and provides 1Û2
                   such staterìlent to ine Cbsing Agent- Sefler shal                                                                         103
                   Speeiftc Term No. 12, Seller ánd Buyer reguest t                                                                          1o4
                   uñpaid utifþ charges in accordance with RCW 6                                                                             16
                   pr,iviaing sêrvice-to the Property and                  having                                                                       106
                                                                                                                                                        1v
                   êqu¡vatent)-
                   Buyer is advised to verify the existence and amount of                                   silrict, caPacíty or imPect.charges.or 1(ts
                   oth'er assessments that riay be charged against tfie Pro                                 ng. Seller ulll p?y such cha.rges that l0S
                                                          - Charges þvÍed b
                   are or become due on or bêfore Clos-ing.
                   as agreed in Specific Term No. 13.
                                                                                                            m¡ng due afier Closing shall be pa¡d 110
                                                                                                                                                        111

         i.        Sale lnformation. Listing Broker and Selling Broker are authorized to repoñ this Agre€ment (including prÍce ard all                  112
                   tems) to the Multþle Listìng Service that pubj¡shed it and to its members, financing Ínstitutions.. appraisers, and anyone           113
                   eþe râated to this sale. Bu-yer and SelÞr expressly authorÞ afl Closing Agene, appraisers, title insurance companies,                114
                    and others related to this SLfe, to fumish thA Usting Broker and/or Selling Broker, on request, any and al¡ informat¡on             115
                    and cop¡es of documents concern¡ng th¡s saþ.                                                                                        116




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                    Buyer's lnitials           Oate           Buyefs ln¡tials    Dâte
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                                                                                                               Date
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         pess4of 5                                                                               -._
                                                RESIDENTTAL REAL ESTATE PURCHASE AND SALE AGREEHEN'¡
                                                                               GENERAL TERHS¡
                                                                                        Conlirued
         j.     Seller Gitizenship and FIRPTA. Seller warrants that the identification of Selle¡'s citÞenship status tur purposes of U.S, 117
                income taxation in Specific Term No. 14 is conecl. Seller shall execute a cert¡fication (¡{WMLS Fo¡m2ZE or equivalent) 118
                underthe Foreþn lnvestment in Real Property Tax Act CFIRPTA') at Closing and provide the cert¡ñcatbn to the Cþsing l'19
                Agent- lf Seller is a foreign person for purposes of U.S. income taxatþn, and this transaction is not otherwise exempt 120
                from FIRPTA, Glosíng Agent               Ls   instructed to w¡thhold and pay the required amount to the lntemal Revenue     Service.         121

         k.     Notices and Delivery of Documents. Any notioe related to this Agreement (includirg revocatìons oî ofrers ot                                  1?2
                cöunterorfürs) must be in writing. f.lotioes to Seller must be signed by at þast one Buyer and shall be deemed delivered 'lz3
                only when the notice is received by SelÞr, by Listing Broker, or at the llcensed office of Lbting Broker. Notíces toBvyet|z4
                must Þ sþngd by at least one Seller and shall be deemed delÍvered only when the notica is received by Éuyet, W 125
                Selling Broker, or al ttp licensed office of Selling Broker. Oocuments related to this Agreement, such as NWMLS Fom 126
                17, hformatíon on LeeôBased Paint and Lead€ased Paint Hazards, Public Ofüring Statement or Resale Cerlifiîørhe, 1n
                and all other documents shall be delivered pursuant to this paragraph. Buyer and Seller must keep Selling Broker and 121)
                List¡ng Broker advised of their whereabouts in order to receiw prompt notification of receipt of ê notice.                129

                Facsimile transmission of any notice or document shall constitute delivery. E-mail transmission of any not¡ce or                             130
                document (or a darect link to such ndice or document) shall constitute delivery when: (i) the e-mail is sent lo both Selling                 131
                Broker and Selling Finn or both Listing Broker and Listing Firrn at the *.mail addresses specified on page one of this                       132
                Agreement; or (ii) Selling Broker or Listing Broker provide written acknowledgment of receipt of the +mail (an automat¡c                     133
                e-mail reply does not const¡tute writlen acknowledgment). At the request of eíther party, or the Closing Agerìt, the                         134
                pafÞs will confirm facsimile or e+naif transmitted sþnatures by sþning an orþÍnal document.                                                  135

         l.     Computation of Time. Unless otherwise specified in this Agreement, any perÍod of time measured in days and stated                            138
                in th¡s Agreement shafl start on the day followíng the event commencing the period and shall expire at 9:00 p.m. of the 137
                Iast calendar day of the specifed perÍod of t¡me. Exc€pt for the Possession Date, ¡f the tæt day is a Saturday, Sunday 13{l
                of legal holiday as del¡ned in RCW 1.16.050, the specified per¡od of time shall expire on the nex day thet'rs not a                          139
                Saturday, Sunday or legal holiday. Any specified period of 5 days or less, except for any time period ælating to the                         140
                Possession Date, shall not include Saturdays, Sundays or legal holidays- lf the parties agree that an event will occur on                    141
                a specÍfic calendar date, the event shal¡ occur on that date, except for tte Closing Date, which, ¡f il falls on a Seturdey,                 142
                Sunday, legal holiday as defined in RCW 1.16.050, or day when the county recording office is closed, shall occur on the                      143
                next day that is not a Salurday, Sunday, legal holiday, or day when the county recording office is closed. lf the parties                    144
                €gree upon and attach a legal descrþtion after this Agreement is sþned þy tte ofürce and delivered to the oñeror, then                       145
                for the purposes of computing time, mutual acce¡ance shall þe deemed to be on the date of delivery of an accepted                            146
                offer or counterofier to the offeror, rather than on the date the legal description is attached. Time is of the essence of                   147
                this    Agreement.                                                                                                                           1Æ

        m.      lntegration and Elecfronic Signatures. Thís Agreement constÍtutes the entire understanding betvveen the parties and 149
                supersedes all prior or contemporaneous undeßtandings and representations. No modiñcatþn of this Agreement shall 150
                be effective unless agreed in writing and signed by Buyer and Seller. The parties acknowledge that e s¡gnature in 151
                electronic form has ttre same legal efÞct and validity as a handwritten sþnature.                                       '152

        n.      Assignment. Buyer may not assign this Agreement, or Buyer's rþhts hereunder, without Selle/s     prior written consent, 1&3
                unless the parties ¡ndicãte that assígnment is permitted by the addition of "and/or assþns" on the line identifoíng the 154
                Buyer on the first page of this           Agre€rîent.                                                                                        155

        o.      Default. ln the event Buyer tails, wÍthout legal excuse, to complete the purchase of the Property, then the following 15ô
                provision, as itlentified in Specific Term No. 8, shall appþ:                                                              167

                i. Forfeiture Eamest
                                  of           Money.   That port'þn of the Eamest Money   thet does not exceed  five percent  (5%) of the 158
                    Purchase Price shall be forfeited to the Seller as the sole and exclusive remedy avaí¡able to Sel¡er fof such failure. 159
                ¡¡.      Selle/s Elect¡on of Remediee. Seller may, at Selle/s option, (a) keep the Earnest Monøy as liquidated damages 160
                         as the sole and exclusive remedy available to Seller for such failure, (b) bring suit against Buyer for Selle/s ac'tual 161
                         darnages, (c) bring suit to specifically enforce this Agreement and recover any incidental damages, or (O pursue 162
                         any other rþhts or remedies available at law or equity.                                                                 163

        p.
        -       Professional Advice and Attorneys' Fees. Buyer and Seller are advísed to seek the counsel of an aüorney and a 1ô4
                certified public accountant to revíe$r the te¡ms of this Agreement. Buyer and Seller shall pay their cnivn fees incurred for 165
                such review. However, if Buyer or Seller ¡nstitutes suÌt against the other conceming this Agreemerìt the prevailing Party 166
                is entitled lo reasonable attorneys' fees and expenses.                                                                      167

        q.      Oñer. Buyer shall purchase the Property under the lerms and conditions of this Agreemenl. Seller shall have until 9:00 168
                p.m. on the Otrr Ëxpiration Date to-accipt lhis offer, unþss sooner withdrawn. Acæflance shall not be efiective untíl a 169
                iigne¿ copy is received by Buyer, by Selling Broker or at the licensed ofñce of Selling Broker. lf this orffer is not so '170
                aõcepted,'ít shall lapse and any Earnest Money shall be retunded to Buyer-                                               171




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         REII.2J17                                                                                                  . -- ALL RIGHTb RESERVED
         Pase 5 of     5                     RESIDENïAL REAL ESTATE PURCHASE AND SALE AGREEUEN r
                                                                        GENERAL TERüS
                                                                                ContinueÁ
         r.     Gountieroffer. Any change ín the terms presented in an offer or counteroffer, other then the insertion of or change to 172
                Selle/s name and Sellet,s wanenty of citizenship status, shall be considered a counterofier. tf a party makes a 173
                counteroffer, then the other party shall have until 9:00 p.m. on the counleroñer exp¡ration date to accepl that 174
                counterofrer, unless sooner witMrawn. Acceptance shall not be effective untíl e signed óopy b receíved by the other 175
                party, tte other party's broker, or at the licensed ofüce of the other part/s broker. lf the counlerofier is not so åccepted, 176
                it shall lapse and arry Earnest Money shall be refunded to Buyer.                                                             1n
         s.     Offer and Gounteroffer Erpiration Date. lf no expíralion date 's specified for an ofierlcounterofier, the                         178
                oferlcounterofÞr shall expire 2 days after the offer/countáoffer ¡s det¡vered ¡y tne party making the oñer/counteroñer,           179
                unless     soonerwithdrawn.                                                                                                       180

         L      Àgency Disclosure. Selling Firm, Selling F¡rm's Des¡gnated Broker, SellÌng Brokeds Brancfr Manager (if any) and                   181
                Selling Broke/s Managing Broker (if any) represent the same party that Selfing Broker represents. Líst¡ng Firm, Listing           182
                Firm's Desþnated Broker, Listing Broker"s Branch Manager (if any), and Listirp Broke/s Manag¡ng Broker (if any)                   1æ
                represent the same party that the Listíng Broker represents. lf Selling Broker and Listing Broker ere diffeEnt persons            1&4
                afi¡l¡eted with the same Firm, then both Buyer and Seller confirm their consent to Desþnated Broker,. Branch Maneger              185
                (f any), and Managing Broker (îf any) representing both parties as dual agents. lf Selling Broker and Listing Broker are          18t!
                the same person representing both parties then both Buyer and Seller confim their consent to that person and his/her              187
                Desþnated Broker, Branch Manager (if any), and Managing Broker (if any) representing both parties as dual agents. All             188
                Parties acknowÞdge receipt of the pamphlet entitled 'The Law of Real Estale Agenqy."                                              l8S
         u.    Gommirssiqn. Seller and Buyer shail pay a commission in accordance with any listing or cornmission agreement to 190
               which they are a party- The Usting Firm's commission shall Þe apportioned between Lk;ting Firm and Selling Fim as lg1
               specified in the listing- Seller and Buyer hereby consenl to Líst¡ng Firm or Selfing Firm receiving compensation from 192
               more than one party. Selbr and Buyer hereby assign to List¡ng Firm and Sellíng Fírm, as applicabÞ, a portion of their 193
               funds in eærow equal to such commiss¡on(s) end ¡rrevocaby inslrust the Closirg Agent to disburse the commission(s) 194'
               directly to the Firm(s). ln any aclion by L¡sting or Selling Finn to enforce this paragraph, the prevailing party is entitþd to lg5
               court costs and reasonable attomeys' fees. Seller and Buyer agree that the Firms are intended third party benefc¡arbs 196
                under this    Agreernent.                                                                                                         ß7
        v.     Cancellation Righb/Lead-Based Paint lf a residential ôrelling was built on the Property prior lo 1978, arÉ Buyer                   198
               receives a Dísclosure of lnformaüon on LeaGBased Paint and Lead-Bas€d Paint Hazards (NWl¡lLS Form 22J) after                       190
               mutual acceptance. Buyer may rescind this Agreement at any time up to 3 deys        there€frer.                                    200

        w.     lnformation Veritication Period. Buyer shall have 10 days afier mutual acceptance to veriff all information provided               201
               from Seller or L¡sting Firm related to the Property, This contingency shall be deemed satisfied unless Buyer gives notÍce 2û¿
               identiffing the materially inaecurate information within l0 dâys of mutual acceptance. lf Buyer gives timely notíce under 203
               this section, then this Agreement shall term¡nate and the Earnest Money shall be refunded to Buyer.                       2U
        x.     Property Condition Disclaimer. Buyer end Selþr agree, that except as provided in this Agreement, all representations 2(E
               and information regarding the Property and the fansaction are soþly from the Selþr or Buyer, and not frorn any Broker. 206
               The partþs acknowledge that the Brokers are not responsible for assuring that the parties perform their oblþations 207
               under this Agreement end that none of the Brokers has agreed to independently investigate or e¡nfrm arry matter 208
               related to th¡s transaction except as slated in this Agreemênt, or in a separate writing sþned by strch Broker. ln 200
               addition, Brokers do not guarantee the value, quality or condítion of the Property and some properties may contain 210
               buildíng mderials, including siding, rooñng, ceílíng, insulation! electrical, and plumbing, that have been the subled oî 211
               lawsuits and/or govemmental inquiry because of possible defêcts or health hazards. Some properties may have other 212
               defecls arising after construction, such as drainage, leakage, pest, rot and mold problems. Brokers do not have the 213
               expert¡se to identifu or assess defective producis, materialsj or conditions. Buyer is urged to use due diligence to 214
               inspecl the Property to Buyer/s satisfaclion and to retain inspectors qualified to ident¡ry the presence of defecllve 215
               materials and evafuate the condition of the Property as lhere may be defects that may only be revealed by careful 216
               inspection. Buyer is advised to ¡nvest¡gete whether there is a sufficient water supply to meet Buyeds needs. Buyer ís 217
               advised to ¡nvest¡gate the cost of insurance for the Propêrty, including, but not timited to homeowne/s, f,ood. 218
               earthquake, landslide, and other available coverage. Buyer and Seller acknowledge that home protection plens may be 2f 9
               available uÀich may provide additþnal pfotecfbn and beneft to Buyer and Seller. Brokers may asist the partês wrlh 220
               locatirlg and selecting third party servíce providers, such as inspectors or contrecfors, but Brof<ers cannot guatanlæ o( 221
               be responsibÞ for the services provided by those third pártþs. The parties shall exercise ttpir own judgment and due ?2,
               diligence regardíng th¡róparty service providers.                                                                         ZJ




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         Evidence of Funds Addendum                                                                                               Northwest Mulliple List¡ng SeMce
         Rev.2117                                                                                                                    ALL RJGHTS RESERVED
         Pâge 'l of I                                              EI/IDENCE OF FUNDS ADDENDUT
                                                                  TO PURCHASE & SALE AGREEMENT

         The following is part of the Purchase and Sale Agreement dated                           Met 03.2017                                                        1



         between               JH           Inc. rnd/or                                                                                              ('Buyer)        z

         and                   Antonio Cruz-Alv¡rado                                 Ernestína Cruz                                                                  3


         concernrng          9435         25fh Àr'c SW                               Sertfle                wA          98106                 (the "Property').      4
                              AddrN                                                  cry                        Stale   Ap


         1           DEFINITIONS.                                                                                                                                    5

                     a. "Evídence" means document(s) from a financial instltution(s) in the Un¡ted Slates                         shoì,ving that Buyer has           6
                          sufficient cash or cash equivalent in United States funds.                                                                                 7

                     b. "NonContíngenf Funds" means funds that Buyer anrrently has in its possessíon ând for which there is                                 no       I
                          contingency, such as financing (NWtvlLS Form 2?A or equivalent), sale of Buyer's property (NWMLS Form                                      I
                          228 or equivalent), or pendÍng sale of Buyeis property (NWRILS Form 22cl^ or equivalent).                                               10

                     c. "Contingent Funds' rîeans funds that Buyer does not cunenlfy have, but expects to receÍve ftom anolher                                    11
                          source prior to Closing, and for which lhere is no contingency, such as a loan, proceeds from the sale                             of   12
                          other property or stock, relirement funds, foreign funds, a gift, or future earnings.                                                   13


         2.    tr E\/iDENCE OF I{ON-CONTINGENT              FUIIDS- Buyer is relying on Non-Contingent Funds for payment of the                                   14
                     Purchase Price. Buyer shall provide Evidence to Seller of suctt tunds                 within
                                                                                                                -days
                                                                                                                      (3 days if not                              15
                     filled in) of mutual acceptance. Unless Buyer discloses other sources of funds for the payment of the Purchase                               16
                     Price, Buyer represents that he Non-Contingent Funds are suffícbnt to pay the Purchase Pric.e. Buyer shall not                               17
                     use such Non-Cont¡ngent Funds for any purpose other than the purchase of the Property wÍthout Seller's pr¡or                                 18
                     written consent lf Buyer fails to timefy provide such Evidence, Seller may give notice terminating                                    this   19
                     Agreement any time before such Evidence is provirJed. Upon Sellefs notice of termination under                                        this   20
                     Addendum, the Earnest Money shall be refunded to Buyer.                                                                                      21


         3.    ø DISCLOSURE OF SOURCES OF CONTINGENT FUNDS. Buyer is relying on the following Contingent Funds 22
                 for the Purchase Price:                                                                       n
                     tr Sale of the following owned by Buyer:                                                                                                     24

                     tr Giftof   $                                    from                                                                                        25

                     tr   Funds not readily convertible to liquid United States funds (describe):                                                                 26

                                                                                                                                                                  27

                     €l Other (describ):                    source ig Veristone Fun¡l      LLC.                                                                   28

                     Buyer shall provide Evidence to Seller 5          days (10 days if not filled in) prior to Closing that the funds eg
                     relied upon in Section 3 have been rcceived or are immediately available to Buyer. lf Buyer fails to timely so
                     provide sudr Evidence, Seller may give notice terminating this Agreement any time before such Evidence is 3'1
                     provided. Buyer shall provide Seller with additíonal information about such funds as may be reasonably 32
                     requested by Seller from time to time. Upon Selle/s notice of termination under this Addendum, the Earnest s3
                     Money shallbe refunded to Buyer.                                                                                  u
        4.           BUYER DEFAULT. lf Buyer faíls to timely close because lhe Contingent Funds identified in Paragraph 3                                  are    35
                     not available by Closing, Buyer shall be in default and Seller shall be entitled to remedies as provided for in                       the    36
                     Agreement.                                                                                                                                   37




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                (b)        Rac¿r6 gld rgForts auañable lo ¡he 8dþrrt-esaor {clìËd( one betowtl                                                30
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         lf lhE above irformation has rlot bsen lilted in d ltle t*rre of mutual accêptance of this Agreanrnt then (1) 29
         with¡n             dap {5 if not fnþd h) of mutuâl aaceptancs of ttris âgreoment, Seiler shall prwitle lhe Ltslttg 30
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                           FoÍn 31                                                                                          @opyrþht 2010
                           Earnest Money PrÐmbsory Not€                                                              NorthwEst Multþl€ L¡st¡rE Sêrvùce
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                                                                     EARNEST MONEY PROMISSOTY NOTE


                           $                              5,000.00                                       Seattle                   ,   Washington         1




                           FOR VALUE RECEIVED,                  JH       fnc. and/or                                                                     2

                                                                                                                                         ('Buyef)        3
                            B.ryr

                          agree(s) to pay to the order of                   Best Escrow, LLC.               (Selling Firm or Closing AgenQ 4
                          the sum of FiveThoussnd                                                                                          Dollars       5
                          ($ 5,000.00                                       l_   as follows:                                                             ö
                          D within 3 days following mutual acceptance               of the Purchase and Sale Agreement.                                  7
                          ú '¡y tú',j l2,2otl                                                                                                            I

                          This Note is evidence of the obllgation to pay Earnest Money under a real estate Purchase                       and            I
                          Sale Agreement between the Buyer and               AntonioCn¡z-Aþarado                                                      10
                                                                             Sels

                            Ernestina Cruz
                            5dl6
                                                                                                                                         ('Seller")   ¡
                          dated       May 03,2017                                       Buye¡'s failure to pay the Eamest Money 12
                          strictly as above shall constitute default on said Purchase and Sale Agreement as well as on this Note. 13


                          lf this Note shall be placed in the hands of an attomey for collection, or if suít shall be brought to collect 14
                          any of the balance due on this Note, the Buyer promises to pay reasonable attomeys' fees, and all 15
                          æurt and collection costs.                                                                                     16


                                                   05to6f2017
                          Date:                                                                                                                       17



                                                                        BUYER                                                                         18
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                                                                        BUreR                                                                         f9



                                             '"On closing" or similar language is not recommended. Use a definlte date.




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t2              lnspection is purely for informational purposes and pr¡ce will not be renegotiated after
                mutual acceptance.
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Mc.                           Realty, lnc is owned and operated by a licensed real estate broker
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á,
     q         Buyer will release $5,000 earnest money to seller within 3 days of being deposited into
               escrow to be used for moving expenses or other expenses.
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         Rev. 7/10                                                                                                               ALL RIGHTS RESERVED
         Page 1 of 1
                                              ADDENDUM / AMENDMENT TO PURCHASE AND SALE AGREEMENT


         The following ìs part of the Purchase and Sale Agreement dated May 03, 2017

         between                JH Reåtty Inc. and/or assþn                                                                                       ("Buyef)2
                                BuyÉr                                               BuJsr


         and                    Antonio Cruz-Alvarado                               Ernestina Cruz                                                ('Selfel") g
                                stú                                                 S.llor


         concemfng 943s                            25th Ave S\il                    Seatde                      wÂ     981(K              (the "ProperV'). ¿
                                Addr6s                                              ctv                         SlâÞ   Zlp




         ]T IS AGREED BETWEEN THE SELLER AND BUYER AS FOLLOWS:                                                                                                 5

         This form shall be c¿lled Form 344: Early Possession Credit to Seller                                                                                 6
                                                                                                                                                               7
         Buyer shall provide Seller an additionsl $3,000 "early possession creditrr for Seller's moving         I
         expens€s, provided Seller and all their family memben and/or current residents vacate the property I
                                                                                                               10
         and deliver keys to Buyer by June 9,2017 at 3 pm. Such credit shall be paid directly to Sellerrs
                                                                                                               11
         choice of mover and apptied/paid toward SeIIer's moving expenses no later than June 9,7.017 at 5      12
         pm. Buyer reserves the right to verify Seller has vacated property prior to transferring funds to     13
         Seller's moyers and shall not be obligated to pay all or part of this credít unl€ss the home has been 14
         completeþ vacâted. Buyer shall verify Seller has v¡cated    property   no later than  4 pm on June 9, 15
                                                                                                               16
         2017.                                                                                                 17
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         ALL OTHER TERMS AND CONDITIONS of said Agreement remain unchanged.



                    14           05t0Êt2017

                    Buyer's ln¡t¡âls               Date    Buye/s ln¡t¡als   Date
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          Rev.7/10                                                                                                                         ALL RIGHTS RESERVED
          Page       I     of   1
                                                         AODENDUM /AMENDMENT TO PURCHASEAND SALE AGREEMENT


         The following is part of the Purchase and Sale Ag reement                           deted          Mey 03, 2017

         between                            .IE           Inc. and/or                                                                                        ("Buyer")Z


         and                                Antonio Cruz-Alv¿rado                            ErnestÍna Cruz                                                  ('Sellet") 3
                                            S€   þr                                          Sgller


         conceming 9435                                    25tù Avc SW                       Scattlc                       wA      91106               (fhe'Properf). +
                                            Addæ                                             Clty                          St€te   ZP



         IT IS AGREED BETWEEN THE SELLER AND BUYER AS FOLLOWS:                                                                                                           5

         This form shall be called Form 34 B: Conversion of Earnest Money to Non-Refundable DeposiL                                                                      6
                                                                                                                                                                         7
         Buyer and Seller agree that said earnest money shall be released by Escrow to Seller within three I
                                                                                     re May 12,2017. Buyer         9
                                                                                      proviãed herein, said funds ]f
                                                                                     rice, and shall no longer be i;
         earnest money. In the event this transaction fails to close for any reåson, said non-refundable depoeit 13
         shall remain the property of the Seller and will not be refunded to the Buyer for any reason.            14
                                    ey funds  not converted  shall be  disposed of according  to the terms of the 1!

                                    ent Nothiog in tlis paragraph p.eõlodes Buyer from legal remedies for 1?
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         ALL OTHER TERMS AND CONDITIONS of said Agreement remain unchanged.



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         PE}EI ú        2                    INSPECTION ADDENDUM TO PURCHASE AND SALE AGREEIIENT
                                                                                                    May 3,2017
         The following is part of the Purchase and Sale Agreement dated                                                                                1



         between            JH Realty, lnc and/or ass¡gn                                                                                  ('Buyer")    2
                               Buls                                              Ëulef


         and           Antonio Cruz                                       Ernestina Cruz                                                  ("Selle/)    3
                               Sellsr                                            Sêller


         concerning           9435 25th Ave Sw                               Seattle
                                                                                 Ctty
                                                                                                            wA
                                                                                                            State
                                                                                                                  98106            (the "ProPerty'). 4
                                                                                                                    4
         t.fia'             INSPECTION GONTINGENCY. ThÍs Agreement is conditioned on Buyer's subjective satísfacfion with                              5
                            inspections of the Property and the improvements on the Properg. Buye/s inspections may indude, at                         6
                            Buyer's option and without limitation, the strudural, mecfranical and general condition of the                             7
                            improrcments to üte Properg, compliance with buílding and zoning codes, an inspedion of the Property                       I
                            for hazardous materials, a pest inspection, and a soils/stability inspection. The inspection must be                       I
                            performed by Buyer or a person licensed (or exempt from licensing) under Chapter 18.280 RCW                               't0

                            Sewer lnspection. Buyer's inspection of lhe Property fl may; fl may not (may, if not checked) include                     11
                            an inspection of the sewer system, which may include a sewer line video inspection and assessment and                     12
                            may require the inspector to remove toilets or other fixfures to access the sewer line.                                   13
                            Buye/s Obligations. All ínspections are to be (a) ordered by Buyer, (b) performed by inspec{ors of                        14
                            Buyer's choice, and (c) completed at Buye/s expense. Buyer shall not alter the Property or any l5
                            improvernenb on the Propê¡ty without first obtaining Seller's permission. Buyer is solely responsibþ for l6
                            interviewing and selecting all inspectors. Buyer shall restore the Property and all improvements on the 17
                            Property to the same condition they were in prior to the inspection. Buyer shall be reçonsible for all l8
                            damages resulting from any inspec'tion of the Property performed on Buyer's behalf.                                       19

                            BUYER'S NOTICE. This inspectíon contingency SHALL CONCLUSIVELY BE DEEMED WAIVED                                           20
                            unþss within 5          days (10 days if not filfed in) after mutual acceptâncÊ of this Agreement (the "lnitial           21
                            lnspection Period"), Buyer gives notice ('l ) approving the inspection and waMng ttt's conlingency; (2)                   22
                            di=pproving he inspecfíon and terminatjng ttre Agreement (3) ürat Buyer will corduct additional inçec{ions;               23
                            or (4) proposing repairs to the property or modifications trr tlre Agreement. lf Buyer disapproves the inspection 24
                            and terminates üre Agreenent, the Eanest Money shall be refunded to Buyer. lf Buyer proposes repairs to the 25
                            property or modÍfications to the Agre€ment, includ¡ng adjusûnenb to fre purcñase priæ or credib for repairs to 26
                            be performed afrerClosing, the parliesshall negotiate as setforth in paragraph'1.c, below. The partþs may 27
                            use NWMLS Form 35R to give notices required by ttr's Addendum.                                                    28
                            ATTENTION BUYER:           lf Buyer fails to gÍve timely notice, then thîs inspection contingency shall be                29
                          deemed waived and Seller shall not be oblrgated to make any repairs or modifications.                                       30

                       b. Additional lnspections. lf an inspector so recommends, Buyer may obtaín further evaluation of any item                      31

                          by a specialist at Buye/s opt¡on and expense ¡l on or before the end of the lnitial lnspeclion Period,                      32
                          Buyer provides Seller a copy of the inspector's recommendation and notice that Buyer will seek additionaf                   33
                          inspections. lf Buyer gives timely notice of additional inspections, Buyer shall       have               (5 days if        u
                          not filþd in) after givÍng the notice to obtain the additional inspection(s) by a specialist.                               35

                       c. Buyer's Requests for Repais or ilodifications. lf Buyer requests repa¡rs or modifications under                             36
                          'respons-es, 1.a ot 1.Þ. above, the
                          paragraph                                  parties shall negotiate as set forth in this paragraph, All requests,            37
                                         and replies rnade in accordance wíth tre followíng prooedures are irrevocable for the time                   38
                          period proviJed.                                                                                                            39

                          (i) Selþ¡'s Response to Requestfor Repairs or todifications. Seller shall                 have              days (3        10
                              days íf not f¡lled in) after re-ceipt of Buyer's request for repairs or modifications to give notice that Seller        41
                              (aj agrees to the repairs or modifications proposed by Buyer; (b) agrees to some of the repairs or                      42
                              môdiñcat¡ons proposed by Buyer; (c) rejec{s all repairs or modÍfications proposed by Buyer; or (d)                      43
                              offers differend or additionãl repairs or modifìcations- lf Seller agrees to the terms of Buyer's request for           +4
                              repairs or modificatÍons, this contingency shall be satisfied and Buyer's Reply shall not be necessary. lf              45
                              Seller does not agree to all of Buyer's repairs or modifications, Buyer shall have an opportunity to                    ,16

                               reply, as follows:                                                                                                     47


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          Form 35                                                                                                                  @opy¡ight 2015
          lnsp€ct¡on Addendum                                                                                              Northìvesl MuftípÞ Usting Service
          Rev.215                                                                                                             ALL RIGHTS RESERVED
          Page 2ot 2
                                             INSPECTION ADDENDUT TO PURCHASE AND SALEAGREEiIENT
                                                                              Continuecl

                            (ii) Buyeis Reply. lf Seller does not agree to all of the repairs or modifications proposed by Buyer, Buyer                  48
                                 shall have              days (3 days if not filled in) from either the day Buyer receives Selleis response              49
                                 or, if Seller fails to respond, the day Selle/s response period ends, whichever is earlier, to (a) accept               50
                                 the Selle/s response at $rhich tlme this contingency shall be satisfied; (b) agree with the Selfer on                   51
                                 other remedies; or (c) dísapprove the inspedíon and terminate the Agreement, in which event, the                        52
                                 Earnest Money shall be refunded to        Buyer.                                                                        53
                            ATTENTION BUYER: These time periods for negotiating repairs or modifcatíons shall not repeat. The                            54
                            partíes must either reacÏr a written agreement or Buyer must termínate this Agreement by the Buyels                          55
                            Reply deadline set forth in paragraph 1.c.ii. Buyeis inaction during Buyeis reply period shall result in                     56
                            waiver of this inspection condition, in which case Seller shall not be oblþated to make any repairs or                       57
                            modifications whatsoever AND THIS CONTINGENCY SHALL BE DEEMED                       WAIVED.                                  58

                        d. Repairs. lf Seller agrees to make the repairs proposed by Buyer, then     repairs shall be accomplíshed at 59
                            Seller's expense in a commercially reasonable manner and in accordanoe with afl applicable laws no 60
                            Ëwer      than       days (3 days if not filled in) prior to the Closing Date. ln the case of hazardous 61
                            materials, "repaíf means removal or treaÍnent (including but not limÍted to removal or, at Selle/s option, 62
                            decommissioning          of any oil      storage tanks)   of the     hazardous material   at   Seller's e)çense        as    ô3
               '            recommended by and under the d¡rect¡on of a pro€ssional selected by Seller. Seller's repairs are   subjecl                   64
                            to re-inspection and approval, prior to Closing, by the inspector who recommended the repair, if Buyer                       65
                            efecb to order and pay for such r+inspectíon. lf Buyer agrees to pay for any repairs prior to Closing, the                   66
                            parties are advised to seek the counsel of an attorney to review the terms of that        agreement.                         67

                        e. Oil Storage Tanks- Any inçection regarding oil storage lanks or contamination from such tanks shall be 68
                           limited solely to determining the presence or non-presence of oil storage tanks on ttre Property, unless 69
                            otherwise agreed in wriüng by Buyer and         Seller.                                                                      70

                       f. On-site   Sewage Dísposal Systenrs Advisory: Buyer is advised that on-site sewage disposaf systems,                            71
                            including "septic systems,' are subject to strict govemmental regulation and occasional malfunclion and                      72
                            even failure. Buyer is advised to consider conducüng an inspection of any on-site sewage system in                           73
                            addition to the inspection of the Propefy provided by this Form 35 by including an appropriate on-site                       74
                            sewege disposal ínspection contingency such as NWMLS Form 22S                 (SepticAddendum).                              75

         2. tr         NEIGHBORHOOD REVIEW CONTINGENGY: Buyeis inspection includes Buyeis subjec'tive satisfaction 76
                       that the conditions of the neighboñod in which the Property is located are consistent with the Buyeis Z
                        intended use of the Property (the "Neighborhood Revþw"). The Neighborhood Review may include Buyer's 78
                        investþation of the schools, proximity to bus lines, availability of shopping, traffic pattems, noise, parking and 79
                        investigation of other neighborhood, environmental and safety conditions the Buyer may determine to be EO
                        relevant in deciding         to purctase the Propefy- lf Buyer does not give notice of                disapproval     of the     81
                       Neighborhood Review wíthín            (3 days if not filled in) of mutual acceptance of the Agreement then 82
                                                                _
                       this Neighborhood Review condition shall conclusively be deemed satisfied (waived). lf Buyer gives a timely 83
                       notice of disapproval, then this Agreement shall terminate and the Eamest Money shall be retunded to 84
                        Buyer-                                                                                                                           85

         3. tr         FREINSPECTION CONDUCTED. Buyer, prior to mutual acceplance of this Agreement, conducted                                      a    86
                       building, hazardous substances, building and zoning code, pest or soíldstability inspection of the Property,                      87
                       and closing of this Agreement is not conditioned on the results of such inspections. Buyer elects to buy the                      88
                       Property in ib present condition and acknowledges that the decision to purchase the property was based on                         89
                       Buyels prior inspection and that Buyer has not relied on representations by Seller, Listing Broker or Selling                     P
                        Bróker.                                                                                                                          91

         4. tr         WA[VER OF INSPECTION. Buyer has been advised to obtain a building, hazardous substances, building 92
                       and zoning code, pest or soils/stability ¡nspect¡on, and to condition the closing of this Agreement on.the 93
                       results of ðuch inspectíons, but Buyer elec,ts to waive the right and buy the Proær$ in ¡ts present condit¡on. 94
                       Buyer acknowledg'es that the deciiion to waive Buyer's inspedion options was based on Buye/s personal 95
                        inspection and Buyer has not relied on representations by Seller, Listing Broker or Selling            Broker.                   96



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        Form 658                                                                                                                                           @op¡þht2015
        Rental - Delayed Occupancy                                                            RENTAL AGREEMENT                                     Northwest Multiple Listlng Service
        Rev. 7/15                                                                                                                                     AI.t RIGI-ITS RESERVED
        Page 1 of 2
                                                                                          Seller Occupancy After Closing

                                                                                                             Date:           Mav 03. 2017                                                1



        Tenant(s)                         Antonio Crr¡aAlvarado                                              Ernestina Cruz                                                              2
                                             ¡i€lþd l'ffint                                                  $tþ/rrffit

        agree(s) to rent from Landlord JII Rcalty Inc and/or assigu                                                                                                                      2
                                                                       Bu!€rlt¡ndlo,ú                                      B¡ryèr^€ndldd

        the property commonly known as 9435                                                  25tù Ave SW                                    Seattle                                     4
                                                                                Àdd.N                                                       City

          wA                    98106                                King                                   (the "Propert/') on the following terms and cond¡tions:                     5
          Slsb                   Zlp                                   County



        1.     RENT. The rent shall be                          !n        0.00           per Eonth . Landlord acknowledges receipt of rent in the amount                         of     6

               $                      o.oo               for the period of               6nn$fi b 6f29ßOl7 . Future rent shall be payable as follows:                                    7

               Rent shall be payable                          to JII    Rcaltv, Inc.                                                                                                     I
               at 11900 NE lst St Suite 3m. Bcltcvue 98ffi5. Tel: 142$ 40f 4606                                                                                                          I
       2.      POSSESSION. Tenant is entitled to possession on the closíng of                                             tt€ sâle. lf the sale does not close, then this               10
               Agreement is void.                                                                                                                                                       11



        3.     TERH. This Agreement shall terminate on                          Upon termination, any advance rent shell be                                                             12
               prg.rated on JOaity basÍs, and the unused portion refunded to Tenant immediately upon Tenant's vacating the                                                              13
               Property.                                                                                                                                                                14


       4.      INSURANCE. Landlord agrees to insure the Property against fire and other normal casualties. All proceeds of any                                                          15

               such policy shall be payaÚle to Landlord alone. Landlord shall have no responsibility for insuring anythils in or on                                                     16

               the iroperty which belongs to Tenant. Tenant is ad ised that renter's insurance is availabb to Tenant for                                                                17
               coverage related to liability for bodily injury, property damæe, and for the theft, loss, or damage to Tenant's                                                          18
               personãl                 property.                                                                                                                                       ls

        S. UTILITIES. Tenant agrees to pay- for all -.
                                                    utilities, including                                      garbage collection charges, durÍng the term of the                        20
           Agreement.                                                                                                                                                                   21



        6.     IMPROVEMENTS. Tenant shall not be entitled to make any improvements or alterations to the Property, including 2Z
               painting, during the term of this Agreement, without the wriften permission of Landlord. Tenant will return the æ
               Þroperty to Landlord in as good a condition as it presently is, ordinary wear and tear excepted -               24


        7.     suBLETnNG OR ASSIGNMENI. Tenanl may not sublet the Propely and may not assign Tenant's rights under                                                                      zs
               this           Agreement.                                                                                                                                                Â

        g. ctw oF SEATTLE RENTAL REGUI-AT|oì¡ oRDtNANcE. ll the Proærty is l¡cated wlthin the city of seatüe' 27
           then a copy of a summary of ciÇ and state landlord/tenant laws is attached- Tenant hereby acknowledges receipt 28
           of a copy'of the summary.                                                                                      æ

        g.     RELEASE OF REAL ESTATE FlRitS. Lardlord and Tenant release all real estate firms and brokers involved 30
               with this Agreement betuveen Landlord and Tenant and agree to indemnify all real estate f¡rms and brokers
                                                                                                                         fom 31
               any and aliclaims arÍsing under this Agreement.
                                                                                                                             32


                                                                                                                      and is
        10. ATTORNWS' FEES. ln the event either party employs an attomey to enforce any terms of this Agreement
                                                                                                                                                                                        33
                                                                                     the event of a hial, the amount of fees                                                            3+
            successful, the other party agrees to pay reasonabÉ att¡rrneys' fees. ln
            shall be as fixed bY the Court,
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          Form 658                                                                                                       @Copyrþht 2015
         Rental - Delayed Occupancy                                     RENTALAGREEMENT                           Nonhwest Multíple List¡ng Servfc€
         Rev.7115                                                                                                    ALL RIGHTS RESERVED
         Page      2oI 2                                            Seller Occupancy After Closing
                                                                                 (Ønt¡nued)


         11. SMOKE DETECTOR Tenant acknowledges and Lessor certÌfies that the Property is equÍpped with a smoke 36
             detec{or(s)as required by RCW 43.U.110 and that the detector(s) has/have been tested and is/are operable. lt is 3Z
             Tenant's responsibility to maintain the smoke detector(s) as specified by the manufacturer, induding replacement 38
             of batteries, if required. ln addition, if the Property is a multí-family building (more than one unit), Lessor makes 39
             the following discfosures:                                                                                            Æ
               (a) The smoke detection device is Q hard-wíred d Oattery operated.                                                                     41

               (b) The Building fl does d¿oes not have a fire sprinkfer system.                                                                       42

               (c) The Building B does úOoes not have a fire alarm system.                                                                            43
               (O¡       Ú fne building        has a smokíng policy, as follows:                                                                      A
                              No smokirg insidc thc house.                                                                                            Æ
                         Q   The building does not have a smokíng policy.                                                                             ß
               (e)       ú   The buílding has an emergency notification plan for occupants, a copy of which is etteched to this                       47
                             Agreement.                                                                                                               48
                   d         tne building does not have an emergency notification plan for æcupants.                                                  49

               (f) tr The building             has an emergency relocation plan for occupants, a copy of which is attached to this                    50
                             Agreement.                                                                                                               51

                         d   fne building does not have an emergency relocation plan for occupants.                                                   52

              (g) O The building has an emergency evac{ration plan for occupants, a copy of which is attached to this                                 53
                             Agreement.                                                                                                               54
                         Ú ttre building       does not have an emergency evacuetion plan for ocalpants.                                              It


                         Tenant hereby acknowledges receipt of a copy of the building's emergency evacuation routes.                                  56

        12. CARBON MONOXIDE ALAR¡IS. Landlord shall equip the Property with carbon monoxide alarm(s) in accordance                                    57
            with the state building code as required by RCW 1S-27.53O. The parties acknowldge that the real estate firms                              58
              and brokers are not responsible for ensuring that Landlord complies with RCW               19.27.530.                                   5s

         13. LEAD-BASED PAlNl. lf the Property includes housing that was built before 1978, then the Mdendum erfitled                                 60
             "Disdosure of lnformation on Lead-Based Paint and Lead-Based Paint Hazards" (NWMLS Form 2N o¡                                            61
             equivalent), must be attached to this Agreement unless tris lease/rental transaction is exempt from all applic¿ble                       62
              federal        regulations.                                                                                                             Ël

         14. MOLD D¡SCLOSURE. Tenant acknowledges receipt of the pamphlet entitled "A Brief Guide to Mold, Moisture, 64
             and Your Home."                                                                                         65



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                                                                                              Tenant
                                                                                                                              I
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           Landlord                                                       Date




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         Form 3¿             €-                                                                                                  @opyright 2010
         Addendurn/Amendrnent to P&S                                                                                      Northw€st Multiple L¡stírE Service
         Rev.7t10                                                                                                            ALL RIGHTS RESERVED
         Page       I   of   1
                                             ADDENDUM / AÍIIENDi'ENT TO PURGHASE AND SALE AGREEMENT


        The following is part of the Purchase and Sale Agreemenf dated                            M¡y 03,2017                                               1


         between                  JH Realty Iuc. and/or assign                                                                                 ("Buye/) 2
                                  Buyêr                                            Bú)â


        and                       Antonio Cruz-Alv¡redo                            Ernestina Cruz                                              ("Sellef) 3
                                  Selþr                                            Sellø


        c0ncernrng 94t5                        25th Avc SW                         Seaffe                       wA    9810ó             (the "Properff').4
                                                                                   Cily                         Stãlê Zp



        IT IS AGREED BETWEEN THE SELLER AND BUYER AS FOLLOWS:                                                                                               5

        This form shall be called Form 34 C: Addendum to Rentsl Agreement                                                                                   6
                                                                                                                                                            7
        1. If Seller or any family member fails to vacate property by June 29,2017, rent shâll be increased       I
        to $3,000 per month beginning July 1, 2017.                                                               I
                                                                                                                '10
        2. Seller agrees to completely clear contents of garage and deck by the closing date. Seller further 11
        âgrees to either remove the three inoperabte cars from property or sign-oyer title to cars to Buyer by '12
        the closing date. Seller understands and agrees that if Seller fails to fulfill this portion of the     13
        agreemen! Buyer may, as tbey see fig dispose of contents of garage and declç as well as inoperable 14
        cars on property beginning June 29, 2017. If any inoperable cars tre not titled to the Seller and title 15
                                                                                                                                                         16
        to car(s) has not been sþned-over to the Buyer by the closing date, then Seller agrees to pay Buyer                                              17
        any and all cosÍs associated with disposal.                                                                                                      18
        3. Seller rgrees thât Buyer may access the property to begin disposal and./or repair work on/in/to the                                           19
        deck, garage and bacþard beginning June 30r2017. Provided no work or disposal of any kind shall                                                  20
        occur on a Saturday, a Sunday or a legal holiday. Seller sh¡ll reasonably cooper¡te with Buyer with                                              z',l.
                                                                                                                                                         22
        regards to disposal and repair work, should ¿ny cooperstion be requested by Buyer, and Buyer shall                                               23
        coo¡rerate with Setler with regard to any reasonable request not covered herein by Seller.                                                       24
                                                                                                                                                         25
                                                                                                                                                         26
                                                                                                                                                         27
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        ALL OTHER TERMS AND CONDITIONS of said Agreemenl remain unchanged.



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                           QUARTER OF SECTION 36, TOWNSHIP 24 NORTH, RAI{GE 3 FÁST, WILI,AMETTE MERIDIAN, IN
                           KING COUNTY, WASHINGTON;

                           EXCEPT THAT PORTION CONDEMNED FOR EXTENSION OF 25TH AVENUE SOUTHWEST BY ¡(NG
                           COUNTY SUPERIOR COURT CAUSE NUMBER WSE4 UNDER ORDINANCE NUMBER E8785.

                           STTUATE IN THE COUNTY OF KING, STATE OFWASHINGTON.




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                       May 4,2017




                       DearJH Realty Inc.,


                       Coag¡anlacionsl Your preliminary application has been approved. VERISTONT FUND f, LLC has
                       teviewed your application and has reviewed you: availablè ãash for a down payment. your final approval is
                       subject to the following rerms:

                            o      Pu¡chase   Price:                Up to $374,950

                            r Address:                              9435 25ú, Ave Sw, Seade 98106

                            r      I¡¡an   Type:                    Acquisition Lo¿n- ..A.s-is"


                      You a¡e approved for the above-mentioned loan provided that your credit s'orthi¡ess and fioancial position
                      do not materially chanç prior to closing and:

                            r     The title insu¡ance commit¡nent is aæeptable ro VERISTONE FLJND                                       I, LLC / ISAOA
                            ¡     The subiect property is insured ìn ¿ccorda¡ce with YERISTONE FUND I, LLC requirements

                           .      You execute the loan docuoenrs VERISTONE FUND                                     IrLLC     requires


                      VERISTONE FUND I, LLC                        expects to close 'hiq loa¡ quicHy, within 7 days of mutual agceptaoce of the
                      PSÂ extension at this purchase price.


                      Re€a¡ds,




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                      Travis Waodell
                      S¿les Executive
                      travisw@veristone capital. com
                                                                                                                                    E.c. r. G . 2o tT


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         Counferofier Addendum                                                                                  Northmst Mudüde Liling Service
         Rev.   U1l                                                                                                  ALL RIGHTS RESERI/ED
         Påg€   t of 1                                             COUNTEROFFER ADOENDUM
                                                         TO REAL ESTATE PURCHASE AND SALÊ ACREETIENT


         All terms and conditbns of the offer (Real Estate Purchase and Sale Agreement) dated                  Itlty 03,2017                     1

         conoerning 9435                         25th Ave S\il                  Seatdc               lVA     98106         (the   "PropeM),      a
                                  Add,rß                                        cf.t                 SÞlá      ZF

               Antonio Cn¡z-Alvar¡do end Enestin z Cntz                                              ,as                 Seller                  3
         and the undersþned J,E Realtyalnc' and/or                   Assign                          , ¿s                Buycr           .-      4
        are accepted, except for the following changes.                                                                                          5

        ú       The Purchase Price shall be $ 382.0üÌ.00                        Three hundrcd      twO   dollrrs even                            6
                                                                                                                                                 7

        ú        other.                                                                                                                          I
                 1. Form 21, pera 11 : Closing date shall be June l, 2017 .                                                                      I
                 2. Form Zl,para 11: Possession date shall be June 29, 20ll zt 5 pm unless Form 34 A applies.                                 10
                 3. Fom 34 A, Early Possession Credit to Seller is hereby att¿ched.                                                           11
                 4. Form 2l,para W,Information Vcrification Period: The entirety of this psragraph is hereby deleted.                         12
                 5. Form 31, Earnest Money Promissory Note is hereby attached.                                                                13
                 6. Form 34, last para: This paragraph is hereby deleted and Addendum 34 B, Conversíon of Eemest                              14
                                                                                                                                              15
                 Money to Non-Refondable Depqsit, is hereby sttâched.
                                                                                                                                              16
                 7. Form 35, 1. b. AddÍtional Ins¡iections: This paragraph is hereby deleted.                                                 '17
                 8. Buyer agroes that any inspection reports or opinions of inspcctors shall not be shared with Seller or                     18
                 Seller's ¡gent.                                                                                                              19
               '
                 9. Form ó58, Rental Agreement (Seller Occupancy After Closing) and Form 34 C Addendum to Rental                              20
                Agreement is hereby âttached.                                                                                                 21
                10. Buyer understands that S€ller is in "pre-foreclosurt" status with regard to their mortgage and a                          22
                Trustec h¡s been ¡ssigned; I,e[s- colf'-ms tbâÎ +h¡¡¡ heve not heen spñz¡¡l . roreelesiurclûtiGG bJ- tLe                      23
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        This countepffer shall expire at 9:ffi p.m.                  on          (if not flled in, two days after it is delivere{, lJ
        unless it is sooner withdrawn. Acceptarice shall not be effective until a signed copy is re rived by the counterofferor,              ll
        their broker or at the fk-nsed offióe of their broker. lf this counteroffeiis not iô accepted. it st¡all lapse and the 29
        Eamest Money shall be refunded to                       Buyer.                                                             30

        All other tenns and condiüons of the aboyc ofür arc lncorporated hercin by reference as though fully setforth.                        31

                                                       05/06/2017

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       Form 35R                                                                                                                              @Copyright 2008
       lnspection Response for Form 35                                                                                               Northwest Multiple Listing Service
       Rev. 7/08                                                INSPECTION RESPONSE FOR FORM 35                                          ALL RIGHTS RESERVED
       Page     1   of   1


       The following is part of the Purchase and Sale Agreement dated                                 May 03, 2017

        between                    JH Realty, Inc and/or    Assign                                                                                      ("Buye/')    2
                                   Buyer                                                  Buyer


       and                         Antonio Cruz-Alvarado                                  Ernestina Cruz                                                ("Selle/')   3
                                   Seller                                                 Se er

       concernrng 9435                            25th Avenue SW                          Seattle                    wA      98106             (the "Property"). 4
                                   Address                                                City                       State     Zip


       I.      BUYER'S RESPONSE OR REQUEST FOR REPAIRS OR MODIFICATION                                                                                                5
       ú       Buyer's inspection of the Property is approved and the inspection contingency is satisfied.*                                                           6
       tr      Buyer's inspection of the Property is disapproved and the Agreement is terminated. The Earnest Money shall be                                          7
               refunded to Buyer.*                                                                                                                                    I
       tr      Buyer gives notice of an additional inspection. The inspector's recommendation is attached. The time for Buyer's                                       I
               response to the initialand additional inspection is extended as provided in paragraph 1(b)of Form                               35.*                 10
       tr      Buyer requests the following modifications and/or repairs. lf Seller agrees to these modifications or repairs, the                                   11
               inspection contingency shall be deemed               satisfied.**                                                                                    12
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                             6:29:55   ru   PDT                              Date                 Buyer                                                     Date

        lf Buyer requests modifications and/or repairs, this Form 35R and any other addenda or notice pertaining to the 20
        modifications andior repairs and amendment to the Agreement related to or resulting from the request for 21
        modifications and/or repairs shall become a part of the                     Agreement.                                                                       22

        II.    SELLER'S RESPONSE TO BUYER'S REQUEST FOR REPAIRS OR MODIFICATION                                                               23
               Seller acknowledges receipt of Buyer's request for modification or repair, and responds as                             follows:24
        tr     Seller agrees to all of the modifications or repairs in Buyer's request for modifìcation or repair. The inspection contingency 25
               is satisfied, the parties agree to proceed io Closing as provided in the Agreement, and Buyer's reply, below, is not 26
               necessary.**                                                                                                                   27
        tl     Seller offers to correct only the following conditions:**                                                                      28
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        tr     Seller rejects all proposals by Buyer."                                                                                                               31
        tr     Seller rejects all proposals by Buyer, but proposes the following alternative modifications or repairs:**                                             32
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                                                                                                                                                                     34


                                                                                                                                                            Date
                                                                                                                                                                     35
             Seller                                                          Date                 Seller

        III. BUYER'S REPLY TO SELLER'S                          RESPONSE.                                                                                      36
        tr    Buyer accepts Seller's response and agrees to proceed to Closing as provided in the                            Agreement.**                      37
        tr     Buyer rejects Seller's response. Buyer disapproves of the inspection and this Agreement is                                      terminated. The 38
               Earnest Money shall be refunded to                Buyer.*                                                                                       39
        tr     Buyer rejects Seller's response, but offers the attached alternative proposal for modification or repair. Buyer 40
               acknowledges that the inspection contingency will be waived unless Buyer and Seller reach written agreement or 41
               Buyer gives notice disapproving the inspection and terminating the Agreement before the deadline in paragraph 42
               1(c)(ii) of the inspection contingency (NWMLS Form                    35).**                                   43

                                                                                                                                                                     44
             Buyer                                                           Date                 Buyer                                                      Date
         -   Ihls ls a notice which requires only one Buyer's or one Se//er's rnltials.                                                                              45
        *    Ihrs ls not a notice and requires all Buyels or Seller's initials.                                                                                      46




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      Form 34                                                                                                                     @Copyright 2010
      Addendum/Amendment to P&S                                                                                            Northwest Multiple Listing Service
      Rev 7/10                                                                                                                ALL RIGHTS RESERVED
      Page I of 1
                                      ADDENDUM / AMENDMENT TO PURCHASE AND SALE AGREEMENT


      The following is part of the Purchase and Sale Agreement dated                       llay    03,2017                                                         1



      between             JH Realty, Inc and/or Assign                                                                                             ("Buye/')Z
                          Buyer                                              Buyer



      and                 Antonio Cruz-Alvarado                              Ernestina Cruz                                                        ("Seller")3
                          Seller                                             Se er


      concernrng 943s                  25th Avenue SW                        Seattle                         wA      98106               (the "Property").4
                   Address                                                   city                            State   Zip




      IT IS AGREED BETWEEN THE SELLER AND BUYER AS FOLLOWS:                                                                                                        5

      JH Realty, Inc assigns its interest in this contract to Eminence Investments LLC.                                                                            b
                                                                                                                                                                   7
      Eminence Investments LLC will be nerry buyer for this property.                                                                                              I
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      ALL OTHER TERMS AND CONDITIONS of said Agreement remain unchanged                                                                                        31




            Ø            05t09t2017

             Buyer's lnitials          Date
                                            Fq           05109t2017

                                             Buyer's lnitials         Date
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       Form 40                                                                                                                  @Copyright 20'10
       Commission Disbursement Form                                                                                      Northwest Multiple Listing Service
       Rev 7/10                                                                                                             ALL RIGHTS RESERVED
       Page 1 of   1
                                                                 COMMISSION DISBURSEMENT FORM

         SELLING OFFICE MUST:                                                                                                                             I
         (f ) F¡ll in the following completely.                                                                                                           2
         (2) Sign in the space provided.                                                                                                                  3
         (3) Send the original to the Listing Firm.                                                                                                       4
         (4) Send one copy to the Closing Agent.                                                                                                          5
         (5) Retain one copy.                                                                                                                             þ
         Buyer         JH Realty, lnc and/or Assign                                                                                                       7

         Seller Rntiö'ü¡o C ruz-Al va rado
                                                                           Ernestlilä Cruz                                                                8
                        Seller                                                    Seller
         Listing No     .
                     1112852                                              Today's Date
                                                                                                     05t18t2017
                                                                                                                                                          o

         Property Address 9435 25th Ave SW                                       Seattle                             wA           98106                  10
                                                Address                                    C¡ty                           State     Z¡p

         Closing Agent           Best Escrow LLC                                                                                                         11

         Closing Agent's Address                                                                                                                         12
                                                Address                                    City        State Zip
                                                                                                 and mail it direct with                                 13
         The Closing Age nt is instructed to disburse the Selling Firm's share of the commission
                                                                                                                                                         14
                      of this form as follows:
                                    to  Fresh Look Real Estate                                                                       (Selling Firm)      15
                                      400 Bellevue Way NE Sth Floor Bellevue                                         wA            98004                 16
                                                Address                                    c(y                            State     Zip

         $                          to                                                                                                                   17

                                                                                                                                                         18
                                                Address                                    Crty                           State     Zip

         $                          to                                                                                                                   19

                                                                                                                                                         20
                                                Address                                    cty                            State     Zip

         Sell tng Firm F                                   I Estate                                               phone 206-966-7441                     21

         By                          Iøncd thlland.                               Please          Print: Jared Holland                                   22
                                      sr ç€3'!ñ 6riE66 B{dlQålu re


         LISTING FIRM MUST:
         (f) F¡ll in the following completely.
         (2) Sign in the space provided.
         (3) Send the originalto the Closing Agent.
         (4) Retain a photocopy.                                                                                                                         27
         The total commission owed is $                                    of which the Listing Firm's share is $                                        28
         The Closing Agent is instructed to disburse the Listing Firm's share of the commission and mail it direct with                                  29
         photocopies of this form as follows:                                                                                                            30

         $                          to                                                                                                (Listing Firm)

                                                Address                                                                              Zp

         $                          to                                                                                                                        3


                                                Address

         $                          to

                                                Address                                    City                        State         Z¡p

         Listing Firm                                                                                              Phone                                      7

         By                                                                        Please Print
                                          Authorized Signature




          Case
          Case17-12457-TWD
               18-01048-CMA Doc
                            Doc18-1
                                5-2 Filed
                                     Filed05/17/18
                                           07/24/17 Ent.
                                                    Ent.05/17/18
                                                         07/24/1710:48:15
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